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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 V.                                            §                            5:13-CR-27(05)
                                               §
 KENNETH LAMAR MCCOY                           §

                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3) and the Amended Order for the

 Adoption of Local Rules for Assignment of Duties to United States Magistrate Judges, the above-

 entitled and numbered criminal action was referred to the Honorable Caroline M. Craven for

 consideration of the Addendum to Plea Agreement.

        Defendant Kenneth Lamar McCoy (“Defendant”), Defendant’s attorney Jason Horton, and

 the United States Attorney for the Eastern District of Texas entered into a binding Plea Agreement

 FED. R. CIV. P. 11(c)(1)(C) on June 3, 2014 before the undersigned. The Plea Agreement provides

 the following minimum and maximum penalties the Court can impose:

        a. imprisonment for a period not less than 5 years, and not to exceed 40 years;

        b. a fine not to exceed $5,000,000, or twice any pecuniary gain to the defendant or
        loss to the victim(s);

        c. a term of supervised release of not less than 4 years, which may be mandatory
        under the law and will follow any term of imprisonment. [f the defendant violates
        the conditions of supervised release, the consequence could be imprisonment for
        the entire term of supervised release;

        d. a mandatory special assessment of $100, which must be paid by cashier's check
        or money order to the United States District Clerk;

        e. forfeiture of property involved or traceable to the criminal offense;

        f. restitution to victims or to the community; and
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           g. costs of incarceration and supervision.

 (Docket Entry # 145 at pg. 2).

           After conducting a hearing, the undersigned recommended the District Court accept the Plea

 Agreement and the Guilty Plea of Defendant, which the District Court adopted June 4, 2014.

 Defendant and the Government subsequently agreed to an Addendum to Plea Agreement, wherein

 Defendant agreed to enter a plea of guilty to a lesser included charge of Count 13 of the indictment.

 The addendum provides the following penalty range:

           a. imprisonment for a period not more than 20 years;

           b. a fine not to exceed $1,000,000, or twice any pecuniary gain to the defendant or
           loss to the victim(s);

           c. a term of supervised release of not less than 3 years, which may be mandatory
           under the law and will follow any term of imprisonment. If the defendant violates
           the conditions of supervised release, the consequence could be imprisonment for the
           entire term of supervised release;

           d. a mandatory special assessment of $100, which must be paid by cashier's check
           or money order to the United States District Clerk;

           e. forfeiture of property involved or traceable to the criminal offense;

           f. restitution to victims or to the community; and

           g. costs of incarceration and supervision.

 (Docket Entry # 240 at pg. 2). The addendum further provides it is the intent of the parties that all

 provisions of the previously-entered Plea Agreement remain unchanged and given full force and

 effect.

           After Defendant consented to the undersigned’s recommendation whether the Addendum to

 Plea Agreement should be allowed, the Court held a hearing November 24, 2014. After considering



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    the terms of the addendum as well as hearing arguments of counsel, the Court finds the Addendum
.
    to Plea Agreement reasonable and recommends it be accepted by the District Court.

            Based on the foregoing, it is

           RECOMMENDED that Addendum to Plea Agreement be ACCEPTED. It is further

           RECOMMENDED that all other provisions of the previously-entered Plea Agreement

    remain unchanged and that they be given full force and effect.

           The parties were informed of the right to file objections to the recommendations as set forth

    above. The parties waived their objections to the Report and Recommendation.

           SIGNED this 24th day of November, 2014.




                                                         ____________________________________
                                                         CAROLINE M. CRAVEN
                                                         UNITED STATES MAGISTRATE JUDGE




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